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3                                   UNITED STATES DISTRICT COURT
4                                          DISTRICT OF NEVADA
5                                                       ***
6       UNITED STATES OF AMERICA,                          Case No. 2:12-cr-083 -APG-GWF
7                                          Plaintiff,                   ORDER
8                       v.
9       BILLY STEFFEY,
10                                      Defendant.
11

12            Defendant Billy Steffey has filed a Motion seeking a correction to his Presentence

13     Investigative Report. (Dkt. #350.) Specifically, Steffey requests that the report be amended to (1)

14     remove the mention of charges for which he was arrested but which were dismissed, and (2)

15     attach his medical records that were filed under seal. The arrest in question is correctly noted, the

16     PSR reflects that the charges were dismissed, and the calculations of the sentencing range under

17     the Guidelines was correct. At sentencing, Steffey and his counsel were asked if the PSR

18     contained any mistakes or it needed to be amended. Nothing was mentioned.

19            With regard to Steffey's medical records, those were filed under seal as attachments to

20     Steffey's Motion for Release Pending Sentencing. (Dkt. #290.) Because they were filed under

21     seal, they were not attached to the PSR. Steffey, his family, and his counsel presumably have

22     copies of his medical records and may provide them to the Bureau of Prisons if Steffey so

23     chooses. If he wishes to have his medical records unsealed in the court docket, he may file a

24     motion to do so.

25            Finally, pursuant to Fed. R. Crim. P. 35, within 14 days of sentencing the court may

26     correct a sentence that resulted from arithmetical, technical, or other clerical error. That has not

27     occurred here.

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1           For the foregoing reasons, Steffey's motion for correction of his PSR is DENIED.

2           Dated: May 26, 2015.

3                                                       ANDREW P. GORDON
                                                        UNITED STATES DISTRICT JUDGE
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